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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO

 Gregory Stark, William Gaff, Michael Lewin,               Case No. 1:20-cv-01254-PAB
 Kimberly Zahr, and Dwight Kurek, individually and
 as representatives of a class of similarly situated
 persons, and on behalf of the KeyCorp 401(k)
 Savings Plan,                                                   Judge Pamela A. Barker

                       Plaintiffs,                                    CLASS ACTION
 v.
                                                             It is so STIPULATED.
 KeyCorp, the Trust Oversight Committee, and John            s/Pamela A. Barker 10/21/2021
 Does 1-30,                                                  PAMELA A. BARKER
                                                             U.S. DISTRICT JUDGE
                       Defendants.

                               STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs and Defendants

hereby stipulate to dismissal of the above-captioned action. Plaintiffs and Defendants shall each

bear their own costs, expenses, disbursements, and attorneys’ fees.

 Dated: October 20, 2021


  NICHOLS KASTER, PLLP                              BAKER HOSTETLER LLP

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   Case: 1:20-cv-01254-PAB Doc #: 39 Filed: 10/21/21 2 of 2. PageID #: 1176




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